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                  IN THE DISTRICT COURT OF THE UNITED STATES
                     FOR THE MIDDLE DISTRICT OF ALABAMA
                              NORTHERN DIVISION

LUCIOUS WRIGHT,                               )
                                              )
           Plaintiff,                         )
                                              )
   v.                                         )    CASE NO. 2:18-cv-720-SMD
                                              )
UC EASTCHASE, LLC d/b/a                       )
URBAN COOKHOUSE,                              )
                                              )
           Defendant.                         )

                                   FINAL JUDGMENT

        The parties in the above-styled case have filed a Joint Stipulation of Dismissal (Doc.

15). Accordingly, it is the ORDER, JUDGMENT and DECREE of the Court that this case

is DISMISSED with prejudice, with each party to bear their own costs and attorney’s fees.

No costs are taxed.

        The Clerk is DIRECTED to enter this document on the civil docket as a Final

Judgment pursuant to Rule 58 of the Federal Rules of Civil Procedure.

        DONE this 7th day of June, 2019.



                                     /s/ Stephen M. Doyle
                                    UNITED STATES MAGISTRATE JUDGE
